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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION

CASE NO.: 1:15-cv-22463-MGC

HYDENTRA HLP INT. LIMITED, a
foreign corporation d/b/a METART,

Plaintiff,
vs.

MAXIMUM APPS INC., a foreign
company d/b/a SEX.COM; CLOVER
HOLDINGS LIMITED PARTNERSHIP,
a foreign company d/b/a SEX.COM;
SEX.COM; FREDERIC VALIQUETTE,
an individual; and John Does 1-20,

Defendants.
/

PLAINTIFF’S MOTION FOR SANCTIONS FOR DEFENDANTS’
FAILURE TO APPEAR FOR DEPOSITION AND
INCORPORATED MEMORANDUM OF LAW

Pursuant to Rule 37(d) of the Federal Rules of Civil Procedure, Plaintiff,
HYDENTRA KLP INT. LIMITED, a foreign corporation d/b/a METART, (“Plaintiff” or
“Hydentra”), moves for entry of an Order sanctioning Defendants, MAXIMUM APPS
INC. a foreign company d/b/a (hereinafter “Max Apps”) and FREDERIC
VALIQUETTE, an individual (hereinafter “Valiquette”) (collectively referred to as
“Defendants”) for their willful failure to appear for their depositions on January 28, 2016.
These sanctions include but are not limited to: (a) awarding Plaintiff's attorneys’ fees and
costs associated with the preparation for Defendants’ deposition, traveling for the

depositions, retaining of a court reporter and the filing of this motion; and (b) striking

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Defendants’ pleadings and entering a default judgment against Defendants under Rule 37.
In support of the Motion, Plaintiff provides the following:

1, On January 7, 2016, Plaintiff filed and duly served a notice of taking the
deposition of the corporate representative of Defendant, Max Apps to take place on
Thursday, January 28, 2016, at 9:00am. A copy of the notice is attached hereto as
“Exhibit A.”

2. On January 8, 2016, Plaintiff filed and duly served a notice of taking the
deposition of Defendant, Valiquette, to take place on Thursday, January 28, 2016, at
2:00pm. A copy of the notice is attached hereto as “Exhibit B.”

3. In between the service of Plaintiff's notices of deposition and January 28,
2016, the parties discussed the possibility of moving the Court to stay discovery until the
Court determined the pending jurisdictional motions. On January 11, 2016, the parties
then jointly submitted a Motion to Stay Pretrial Deadlines Pending Disposition of
Defendants’ Motions to Dismiss Amended Complaint [D.E. #68].

4. While negotiating the joint filing of the Motion to Stay, counsel for
Plaintiff made it clear in a January 10, 2016 email to Defendants’ counsel that Plaintiff
agreed with the “concept” of a stay, but “needed to issue [deposition] notices to cover our
end just in case.” Given that the Court’s discovery cut-off was February 5, 2016, Plaintiff
could not risk being foreclosed from conducting discovery. Importantly, at no time did
Plaintiff's counsel communicate that it would cancel the two depositions and at no time
were notices of cancelation ever served or filed. Equally as important, the Motion to Stay
does not address the pending depositions nor seek any form of protection from the Court

as to those depositions.

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5. In between the service of Plaintiff's notices of deposition and January 28,
2016, Defendants’ counsel raised absolutely no objection until the very last minute on
January 27, 2016 — nearly an hour and a half before the close of business, and just hours
before the depositions. At 3:23pm on January 27, 2016, Defendants’ counsel sent an
email to Plaintiff's counsel and indicated Defendants would not attend their deposition
the following day. Defendants’ counsel wrote:

Everyone, Given the pending motion to stay and the 12(b)(6) motions, my
clients will not be appearing for depositions tomorrow. We will reschedule
and/or address the depositions once the aforementioned depositions are
ruled upon.

6. The tone of the January 27" email demonstrates the message was not a
“confirmation” of a prior agreement that the depositions were cancelled. Rather, the
email makes clear this is the very first communication indicating that Defendants would
fail to appear for their duly noticed depositions.

7. The corporate representative for Max Apps was given 21-days notice for
his deposition, and Mr. Valiquette was provided 20-days notice before his deposition.
Despite the ample notice, Defendants failed to file a Motion for Protective Order (or any
emergency motion for relief for that matter) prior to the depositions or take any
affirmative steps to protect them from their obligations to appear for deposition.

8. Instead, Defendants’ waited until the last minute to notify Plaintiff's and
its counsel of the unilateral cancelation and refusal to appear. Unfortunately, because of

the late notification, Plaintiff's counsel and expert witness were already on a flight from

Washington and Arizona, respectively, to attend these depositions.’

' Counsel for Defendants knew that Plaintiff's counsel and expert would be traveling
from out of state to attend these depositions. Just days prior to the scheduled depositions,
on January 18” and 19", Defendants’ counsel and Plaintiff's counsel and expert sat in

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9. In response to the January 27" email at 3:23pm, Plaintiff's counsel, Mr.

Behar, corresponded with Defendants’ counsel at 3:36pm and indicated, “absent a court

order on any of the pending motions, there is no legal basis to fail to appear for

deposition. ... We plan on appearing tomorrow morning for the 2 depos that are set. . . .”

10. Consistent with Defendants’ threats, Max Apps and Mr. Valiquette failed

to appear for their depositions on January 28". Accordingly, Plaintiff secured a

Certificate of Non-Appearance for the Max App corporate representative and Mr.
Valiquette, which are attached hereto as Exhibits C and D, respectively.

11. As a result of Defendants’ violations of their duties to appear for

depositions, Plaintiff requests this Court enter an Order as follows:

a. Award Plaintiff its costs incurred by having its counsel travel from

Seattle to Miami, hotel expenses, court reporter expenses and all other

associated costs incurred; as well as award Plaintiff its attorneys’ fees

for having its counsel prepare for, travel to and appear for depositions,
and in the preparation of this Motion.

b. Strike Defendants’ pleadings and enter a default judgment in Plaintiffs
favor;

c. Alternatively, in the event the Court does not award the relief requested
in (b), Plaintiff requests the following relief:

i. Directing that the matters embraced in the 30(b)(6) notice
and operative Complaint be taken as established for
purposes of the action;

il. Prohibiting the corporate representative for Max Apps (and
all other corporate witnesses) from supporting or opposing
designated claims or defenses, or from introducing
designated matters in evidence;

another deposition together (in a separate matter) where it was clearly communicated that
they traveled from out of state to be there.

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iii. Treat as contempt of court Defendants’ failure to obey the
notice of deposition;

d. Alternatively, should the Court deny the relief requested in (b) and (c),
then Plaintiff requests entry of an Order requiring the corporate
representative for Max Apps and Mr. Valiquette to appear in person for
deposition within 10 days of the Court’s Order, failure of which will
result in the striking of their pleadings.

12. Counsel for Plaintiff has conferred with counsel for Defendants, Brady J.

Cobb, Esq., and represents that Mr. Cobb opposes the relief requested herein.

WHEREFORE, Plaintiff respectfully requests this Court enter an Order
consistent with the relief requested in the preceding paragraph, and take all further action

the Court deems appropriate and necessary under the circumstances.

MEMORANDUM OF LAW

Federal Rule of Civil Procedure Rule 37(d) governs the failure to permit discovery
and resulting sanctions. Rule 37(d) addresses a party's failure to attend its own deposition
and provides that the Court may order sanctions if:

(i) a party or a party's officer, director, or managing agent--or a
person designated under Rule 30(b)(6) or 31(a)(4)--fails, after
being served with proper notice, to appear for that person's
deposition. ...
Pursuant to Rule 37(d)(3), the Court may impose a variety of sanctions set forth in
Rule 37(b)(2)(A)(i) — (iv), and must require the Defendants to pay the reasonable
expenses, including attorneys’ fees, caused by their failure to appear for deposition. The
Rule provides:
(3) Types of Sanctions. Sanctions may include any of the orders
listed in Rule 37(b)(2)(A)(i)-(vi). Instead of or in addition to these

sanctions, the court must require the party failing to act, the
attorney advising that party, or both to pay the reasonable

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expenses, including attorney's fees, caused by the failure, unless
the failure was substantially justified or other circumstances make
an award of expenses unjust.

The sanctions this Court can impose under Rule 37 (b)(2)(A)(i)-(vi) include:

(i) directing that the matters embraced in the order or other designated
facts be taken as established for purposes of the action, as the prevailing

party claims;

(ii) prohibiting the disobedient party from supporting or opposing
designated claims or defenses, or from introducing designated matters in
evidence;

(iii) striking pleadings in whole or in part;

(iv) staying further proceedings until the order is obeyed;

(v) dismissing the action or proceeding in whole or in part;

(vi) rendering a default judgment against the disobedient party; or

(vii) treating as contempt of court the failure to obey any order except an
order to submit to a physical or mental examination.

“(T]he court may safely rely on its inherent power in imposing appropriate
sanctions” which “may be set at a level sufficient to deter repetition of such conduct or
comparable conduct by others similarly situated.” See Clinton v. Jones, 520 U.S. 681,
117 S.Ct. 1636, 137 L.Ed.2d 945 (1997).

While the parties had jointly moved for a stay of the Court’s deadlines, the Court
never ruled upon that Motion and it would be entirely inappropriate for the parties to
substitute their own judgment for that of the Court or to assume the Court would grant
any of the relief requested. The filing of the Motion to Stay is akin to the filing of a
motion for protective order from the deposition that has not been ruled upon — such
motion has no effect on the deposition. “[T]he mere filing of a motion for protective

order does not discharge a deponent from appearing for his deposition.” Girard v, Aztec

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RV Resort, Inc., 2011 U.S. Dist. LEXIS 155271, *14 (S.D. Fla. Oct. 6, 2011). As the
Central District of California noted in a recent discussion of the case law in other
jurisdictions on the matter:

Unless a party or witness files a motion for a protective order and seeks and
obtains a stay prior to the deposition, a party or witness has no basis to
refuse to attend a properly noticed deposition. See Pioche Mines Consol.
Inc. v. Dolman, 333 F. 2d 257, 269 (9" Cir. 1964) cert. denied, 380 U.S.
956, 85 S. Ct. 1081, 13 L. Ed. 2d 972 and cert. denied, 380 U.S. 956, 85 S.
Ct 1082, 13 L. Ed. 2d 972 (1965). (“Counsel’s view seems to be that a party
need not appear if a motion under Rule 30(b), F.R.Civ.P. [now 26(c)] is on
file, even though it has not been acted upon. Any such rule would be an
intolerable clog upon the discovery process. Rule [26(c)] places the burden
on the proposed deponent to get an order, not just to make a motion. And if
there is not time to have his motion heard, the least that he can be expected
to do is to get an order postponing the time of the deposition until his
motion can be heard.”); 8A Wright, Miller & Marcus, Federal Practice and
Procedures § 2035, at 151-52 (3d ed. 2010) (“At least with regard to
depositions, the [protective] order should ordinarily be obtained before the
date set for the discovery, and failure to move at that time has been held to
preclude objection later[.]”) (footnote omitted); Schwarzer, Tashima &
Wagstaffe, Cal. Practice Guide: Fed. Civ. Pro. Before Trial 7 11:1166 (The
Rutter Group 2010) (“A party served with a deposition notice or discovery
request must obtain a protective order (e.g., a stay of the deposition pending
hearing on the motion) before the date set for the discovery response or
deposition. The mere fact that a motion [*12] for protective order is pending
does not itself excuse the subpoenaed party from making discovery [.]”)
(italics in original); Koninklike Philips Elec. N.V. v. KXD Tech., Inc., 2007
U.S. Dist. LEXIS 77894, 2007 WL3101248, at *18 (D. New. 2007), appeal
dismissed, 539 F. 3d 1039 (9" Cir. 2008) (“Absent a protective order or an
order staying the deposition, the party, including its officers or Rule
30(b)(6) deponents, is required to appear for a properly noticed
deposition.”); see also Albert v. Starbucks Coffee Co., 213 F.App’x 1, 1
(D.C. Cir.), cert. denied, 551 U.S. 1118, 127 S. Ct. 2944, 168 L. Ed. 2d 270
(2007) (unpublished per curiam order) (“Appellant cites no supporting
authority for the proposition that the mere filing of a motion for protective
order requires the court to excuse a party’s failure to obey a court order
compelling attendance at a deposition. Indeed, the published authority
addressing the issue suggests the contrary.”) (italics in original).

In re Toys ‘R Us US-Delaware, Inc., 2010 U.S. Dist. LEXIS 130884, *10-11 (C.D. Cal.

July 29, 2010). Clearly, Defendants are required to attend their depositions absent a court

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order to the contrary.

Here, Defendants failed to seek a protective order and instead only sought a stay
of the Court’s deadlines. Such can hardly be said to protect any party from their
obligations to comply with discovery and appear for their depositions. Accordingly,
Plaintiff's depositions should have continued as scheduled absent a court order to the
contrary. Rule 37(d) of the Federal Rules of Civil Procedure gives the district court wide
discretion to impose sanctions for a party’s failure to comply with its discovery orders.
Zornes v. Specialty Indus., 1998 U.S. App. LEXIS 31686, *15 (4th Cir. Dec. 21, 1998).
These sanctions include the authority to enter default judgment for failure of a party to
comply with its orders or rules of procedure. Girard, 2011 U.S. Dist. LEXIS 155271 at
14. The purpose of Rule 37(d) is not served by excusing Defendants’ blatant disregard of
a properly noticed deposition and of Plaintiffs right to engage in discovery. Moreover,
Plaintiff should not have to bear the financial burden of preparing for a deposition,
traveling to that deposition, and hiring a court reporter, only to have Defendants refuse to
attend their own deposition.

Therefore, this Court should enter an Order as set forth in the above WHEREFORE
clause.

CERTIFICATION OF 7.1 CONFERENCE

Counsel for Plaintiff has conferred with counsel for Defendants, Brady J. Cobb,

Esq., and represents that Mr. Cobb opposes the relief requested herein.

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 10th day of February, 2016 we electronically
filed the foregoing with the Clerk of the Court by using the CM/ECF system which will
send a notice of electronic filing to the following: John F. O’Sullivan, Esq., Allen P.
Pegg, Esq., Brady J. Cobb, Esq., and also to: Evan Fray-Witzer, Esq. Valentin Gurvits,

Esq.; and Matthew Shayefar, Esq.

Respectfully submitted,

/s/Aaron Behar, Esq.

Aaron Behar, Esq.

Florida Bar No.: 166286

/s/Jaclyn Behar, Esq.

Jaclyn Behar, Esq.

Florida Bar No.: 063833

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jb@beharbehar.com

Counsel for Plaintiff

/s/Spencer D, Freeman, Esq.
Spencer D. Freeman, Esq.

Freeman Law Firm, Inc.

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sfreeman@freemanlawfirm.org
Counsel forPlaintiff (Pro Hac Vice)

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EXHIBIT “A”
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION

CASE NO.: 1:15-ev-22463-MGC

HYDENTRA HLP INT. LIMITED, a
foreign corporation d/b/a METART,

Plaintiff,
vs.

MAXIMUM APPS INC., a foreign
company d/b/a SEX.COM; CLOVER
HOLDINGS LIMITED PARTNERSHIP,
a foreign company d/b/a SEX.COM;
SEX.COM; FREDERIC VALIQUETTE,
an individual; and John Does 1-20,

Defendants.
/

NOTICE OF TAKING DEPOSITION
OF CORPORATE REPRESENTATIVE DUCES TECUM
PURSUANT TO F.R.C.P. 30(b)(6)

PLEASE TAKE NOTICE that the undersigned will take the video deposition of:

DEPONENT: Corporate Representative of:
Max Apps Inc. to be deposed on the issues
contained within the attached Exhibit “A”.

DATE: Thursday, January 28, 2016

TIME: 9:00am

PLACE: Bryn & Associates, P.A.
One Biscayne Tower, 2 South Biscayne Blvd., #2680
Miami, Florida 33131

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Upon oral examination before UNIVERSAL COURT REPORTING, or any other
Notary Public or officer authorized by law to take depositions in the State of Florida. The oral
examination will continue from day to day until completed.

The deposition is being taken for the purpose of discovery, for use at trial, or for such
other purposes as are permitted under the Rules of Court, Rules 1.280, 1.310, 1.350, 1.360, 1.380
and 1.410.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 8th day of January, 2016 we electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of
electronic filing to the following: John F, O’Sullivan, Esq., Allen P. Pegg, Esq. and Jason D.
Sternberg, Esq., Counsel for Clover Holdings Limited Partnership; Brady J. Cobb, Esq., Counsel
for Maximum Apps Inc. d/b/a Sex.Com and Frederic Valiquette; and also to: Evan Fray-Witzer,

Esq. Valentin Gurvits, Esq.; and Matthew Shayefar, Esq.

Respectfully submitted,

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E-mail: AB@BeharBehar.com

By: /s/Aaron Behar, Esq.
Aaron Behar, Esq.
Florida Bar No.: 166286
/s/Jaclyn Behar, Esq.
Jaclyn Behar, Esq.
Florida Bar No.: 63833
Counsel for Plaintiff

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And: /s/Spencer D. Freeman, Esq.
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E-mail: sfreeman@freemanlawfirm.org
Counsel forPlaintiff (Pro Hac Vice)

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EXHBIIT “A”

1. Pertaining to videos and photographs (including still photographs) uploaded on
Sex.Com the specific information collected from the uploader and the manner,
location, and parameters that the information is stored and maintained.

2. Pertaining to videos and photographs (including still photographs) uploaded on
Sex.Com the entire process that a potential uploader must go through in order to
upload a video on the web site(s).

3. Pertaining to videos and photographs (including still photographs) uploaded on
Sex.Com all software used to complete the process of receiving the upload through
public display on the web sites.

4. Pertaining to videos and photographs (including still photographs) uploaded on
Sex.Com the process for a video and/or photograph (including still photographs) to be
reviewed by Max Apps Inc., or any agent therefore, before being displayed on the
web site(s).

5. Pertaining to videos and photographs (including still photographs) uploaded on
Sex.Com all software used to keep track of videos and/or photographs (including still
photographs) posted by each user, the full functionality of the software, who authored
the software, when the software was first utilized by Max Apps, Inc. on the web site.

6. All persons and processes involved in implementing repeat infringer policy, including
but not limited to who reviews take down notices to determine whether discipline
necessary, who determines discipline, who implements discipline, the procedure for
implementing discipline, and if the discipline is implemented electronically the
software used to implement the discipline and all data associated with the
implementation of the discipline.

7. Identification of independent contractors used by Max Apps, Inc. for any tasks on
Sex.Com.

8. Identification of programmers utilized by Max Apps, Inc. for any aspect of Sex.Com.

9. All persons and processes involved in receipt of take down notices and responding to

take down notices.

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10. Identification of all owners and/or shareholders of Max Apps, Inc. both current and
from inception of the company, including names, roles, and current contact
information.

11. Identification of all debt incurred by Max Apps, Inc., both current and from the
inception of the company, including to whom the debt is owed, for what the debt was
incurred, and the terms of the debt.

12. Identification of advertisers for Sex.com, including the contractual obligations of Max
Apps, Inc. and the advertisers.

13. All allegations in Plaintiff's Complaint.
14. —_ All defenses raised in response to Plaintiff's Complaint.
15. The factual basis for the parts of Plaintiff's Complaint that Max Apps, Inc. denies.

16. | The factual basis for each affirmative defense that Max Apps, Inc. intends to/has
assert(ed).

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EXHIBIT “B”
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION
CASE NO.: 1:15-cv-22463-MGC
HYDENTRA HLP INT. LIMITED, a
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MAXIMUM APPS INC., a foreign
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HOLDINGS LIMITED PARTNERSHIP,
a foreign company d/b/a SEX.COM;
SEX.COM; FREDERIC VALIQUETTE,
an individual; and John Does 1-20,

Defendants.
/

NOTICE OF TAKING DEPOSITION — FREDERIC VALIQUETTE

PLEASE TAKE NOTICE that the undersigned will take the video deposition of:

DEPONENT: Frederic Valiquette

DATE: Thursday, January 28, 2016

TIME: 2:00pm

PLACE: Bryn & Associates, P.A.
One Biscayne Tower, 2 South Biscayne Blvd., #2680
Miami, Florida 33131

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Upon oral examination before UNIVERSAL COURT REPORTING, or any other
Notary Public or officer authorized by law to take depositions in the State of Florida. The oral
examination will continue from day to day until completed.

The deposition is being taken for the purpose of discovery, for use at trial, or for such
other purposes as are permitted under the Rules of Court, Rules 1.280, 1.310, 1.350, 1.360, 1.380
and 1.410.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 7th day of January, 2016 we electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of
electronic filing to the following: John F. O’Sullivan, Esq., Allen P. Pegg, Esq. and Jason D.
Sternberg, Esq., Counsel for Clover Holdings Limited Partnership; Brady J. Cobb, Esq., Counsel
for Maximum Apps Inc. d/b/a Sex.Com and Frederic Valiquette; and also to: Evan Fray-Witzer,

Esq. Valentin Gurvits, Esq.; and Matthew Shayefar, Esq.

Respectfully submitted,

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By: /s/Aaron Behar, Esq.
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Florida Bar No.: 166286
/s/Jaclyn Behar, Esq.
Jaclyn Behar, Esq.
Florida Bar No.: 63833
Counsel for Plaintiff

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Counsel forPlaintiff (Pro Hac Vice)

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EXHIBIT “C”
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO.: 1:15-cv-22463-MGC

HYDENTRA HLP INT. LIMITED, a
foreign corporation d/b/a METART,,

Plaintiff,
vs.

MAXIMUM APPS INC., a foreign
company d/b/a SEX.COM; CLOVER
HOLDINGS LIMITED PARTNERSHIP,

a foreign company d/b/a SEX.COM;
SEX.COM; FREDERIC VALIQUETTE,

an individual; and JOHN DOES 1-20,

Defendants.

CERTIFICATE OF NON-APPEARANCE

I, Jessica Gill, duly designated to take the
deposition of the witness:

CORPORATE REPRESENTATIVE OF
MAXIMUM APPS INC.

in the Notice of Taking Deposition heretofore filed,
hereby declare that said witness did not appear before me
at: Bryn & Associates, P.A., One Biscayne Tower, 2 South
Biscayne Boulevard, Suite 2680, Miami, Florida, 33131; on
the 28th day of January, 2016; by 2:30 p.m.

Under penalties of perjury, I declare that the facts
stated in the foregoing certificate are true. Dated this
28th day of January, 2016.

AAs

Jessica Gill, Court Reporter,
Notary Public, State of Floéri
Notary Commission No: FF 2451 od
Notary Commission Exp: 10/11/2017

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EXHIBIT “D”
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO.: 1:15-cv-22463-MGC

HYDENTRA HLP INT. LIMITED, a
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HOLDINGS LIMITED PARTNERSHIP,

a foreign company d/b/a SEX.COM;
SEX.COM; FREDERIC VALIQUETTE,

an individual; and JOHN DOES 1-20,

Defendants.

CERTIFICATE OF NON-APPEARANCE

I, Jessica Gill, duly designated to take the
deposition of the witness:

FREDERIC VALIQUETTE

in the Notice of Taking Deposition heretofore filed,
hereby declare that said witness did not appear before me
at: Bryn & Associates, P.A., One Biscayne Tower, 2 South
Biscayne Boulevard, Suite 2680, Miami, Florida, 33131; on
the 28th day of January, 2016; by 2:30 p.m.

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28th day of January, 2016.

an A*

Jessica Gill, Court Reportéms
Notary Public, State of Flori
Notary Commission No: FF 245119

Notary Commission Exp: 10/11/2017

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